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                                                      THE HONORABLE JOHN C. COUGHENOUR
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 6
                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9        ELILE ADAMS,                                    CASE NO. C19-1263-JCC
10                            Petitioner,                 MINUTE ORDER
11             v.

12        RAYMOND DODGE, et al.,

13                            Respondents.
14

15            The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17            This matter comes before the Court on Petitioner’s motion for reconsideration (Dkt. No.
18   56). Finding good cause, the Court hereby ORDERS Respondents Betty Leathers, Deanna
19   Francis, the Nooksack Tribal Court, and the Nooksack Indian Tribe to respond to Petitioner’s
20   motion for reconsideration. Respondents shall file a single response brief of no more than three
21   (3) pages, excluding certificates of service, no later than November 2, 2020.
22            The Clerk is DIRECTED to renote Petitioner’s motion for reconsideration (Dkt. No. 56)
23   to November 2, 2020.
24   //
25   //
26   //


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 1        DATED this 21st day of October 2020.

 2                                               William M. McCool
                                                 Clerk of Court
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                                                 s/Tomas Hernandez
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                                                 Deputy Clerk
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